       Case 8:24-cv-01205-ABA           Document 32-2         Filed 07/10/24       Page 1 of 1



                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT COURT OF MARYLAND


 LESTER LEE
                                                     Case No. 8:24-cv-01205-TJS
       Plaintiff,

 vs.                                                 CLERK’S CERTIFICATE OF DEFAULT

 BROOKSIDE PARK CONDOMINIUM,
 INC. METROPOLIS (aka MCM, INC.),
 RAMMY AZOULAY, AND CHARLES
 LAMONT SAVOY

                    Defendants.


        I, _______________, Clerk of the United States District Court, District of Maryland, do

hereby certify that this action was commenced on April 24, 2024 with the filing of a summons

and complaint, a copy of the summons and complaint was personally served on Defendant

Charles Lamont Savoy on June 10, 2024 at 7606 Prentice Court, Fort Washington, Maryland

20744. (ECF 28).

        I further certify that the docket entries indicate that the defendant(s) has not filed an

answer or otherwise moved with respect to the complaint herein. The default of Defendant

Charles Lamont Savoy is hereby noted.



                                                      ___________________________________
                                                      Clerk of Court
